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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:22-cv-02973-SVW                                              Date      June 23, 2022
                   2:16-ap-1543-ER
                   2:16-bk-22878-BR
 Title             In Re Kimberly Martin-Bragg




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                                   N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/A
 Proceedings:                 IN CHAMBERS ORDER DISMISSING ACTION


       The Court, on June 10, 2022, issued an Order to Show Cause (OSC) why this action should not
be dismissed for lack of prosecution.

         To date, plaintiff has failed to respond to the OSC.

         The Court orders the case dismissed.




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                                                               Initials of Preparer              PMC
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